OPINION — AG — A DISTRICT COURT IN AN ACTION PROPERLY FILED BEFORE IT UNDER THE 37 O.S.H. 73, AS AMENDED, IS NOT DEPRIVED OF THE RIGHT TO ISSUE, IN ITS DISCRETION, A TEMPORARY RESTRAINING ORDER UNDER AUTHORITY OF 12 O.S.H. 1381 TO 12 O.S.H. 1397 . IN THIS CONNECTION ATTENTION TO 12 O.S.H. 66, PROVIDING THAT "INJUNCTION BONDS" ARE NOT REQUIRED IN AN ACTION BY THE STATE OF OKLAHOMA EX REL. IN GIVING THIS OPINION WE FULLY REALIZE THAT THE CORRECTNESS OF OUR ABOVE ANSWER TO YOUR QUESTION IS NOT FREE FROM DOUBT. CITE: 12 O.S.H. 66 (FRED HANSEN)